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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

VIRGINIA BRADFORD, Individually and                      §
as Heir and Legal Representative of the                  §
ESTATE OF FRED HAROLD BRADFORD,                          §
JR., (Deceased),                                         §
              Plaintiff,                                 §         CIVIL ACTION NO.
                                                         §
vs.                                                      §         3:13-CV-2966-B
                                                         §
THE CITY OF DALLAS, BRYAN KENT                           §
BURGESS, MICHAEL PUCKETT, and                            §
DAVID BROWN,                                             §
           Defendants.                                   §

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

        Plaintiff, Virginia Bradford, and Defendants, the City of Dallas, Bryan Kent Burgess,

Michael Puckett, and David Brown (collectively, “the Parties”), pursuant to Rule 41(a)(1)(ii) of

the Federal Rules of Civil Procedure, stipulate to the dismissal with prejudice of all claims by the

Parties. The Parties respectfully request that the Court take note of this stipulation, and that the

dismissal of these claims and of this civil action be noted on the Court’s docket.

                                                     Respectfully submitted,

                                                     LAW OFFICES OF BEN C. MARTIN, LLP

                                                     /s/ Ben C. Martin [ with permission ]
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                                                     Respectfully submitted,

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                                                     ATTORNEYS FOR DEFENDANTS
                                                     CITY OF DALLAS AND DAVID BROWN

                                                     Respectfully submitted,

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                                                     Respectfully submitted,

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                                                     ATTORNEY FOR DEFENDANT
                                                     BRYAN KENT BURGESS


                                     CERTIFICATE OF SERVICE

        I certify that on 26 December 2013 I electronically filed the foregoing document with the
clerk of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means:

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                                                     s/ Jason G. Schuette
                                                     Executive Assistant City Attorney




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